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                                         ID #590



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
vs.                                            )   No. 08-30170-DRH
                                               )
LINDA SPENCE,                                  )
                                               )
       Defendant.                              )



                                           ORDER

        This matter is before the Court on the Defendant’s Motion to Delay Defendant’s Bureau
of Prisons Report Date. The Court being duly advised in the premises and for the reasons argued
in the motion, GRANTS the Motion.

       The Defendant is required to report to FPC Bryan in Bryan, Texas, on May 20, 2009 to
begin serving her thirty month sentence. The Defendant’s previously schedule report date of
May 13, 2009 is canceled.

       Clerk to provide copy of this order to US Marshal Service.


SO ORDERED.


                                                   /s/    DavidRHer|do|
April 22, 2009                                     Chief Judge
                                                   United States District Court
